
Judge Lyons
concurred with Judge Fleming;—Judge Roane (whose absence was occasioned by indisposition) not sitting in the cause.
The opinion of the Court was therefore entered as follows:
“ That the judgment of the District Court was erroneous “ in this, that it belongs by law to the County, City, and “ Borough Courts of this State, exclusively, to make orders “ for binding out poor orphans as apprentices, and to hear “ and determine in a summary way all complaints of ap- " prentices against their masters, and to make orders for “ removing them when it shall seem necessary; from “ which orders no appeal lies; and therefore the County “ Court of Goochland ought not to have allowed, nor the “ District Court of Richmond received the appeal granted " in this cause.”
Judgment reversed, and appeal to the District Court from the order of Goochland County Court of the 18th of August, 1801, directed to be dismissed.
